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                   UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA,               Case No. 2:10-cr-00284-09

            Plaintiff,
     v.                                 ORDER FOR RELEASE OF PERSON
                                        IN CUSTODY
TUAN CHU,

          Defendant.
___________________________/

TO: THE UNITED STATES MARSHAL SERVICE.

     This is to authorize and direct you to release

TUAN CHU, Case No. 2:10-cr-00284-09, from custody for the following

reasons:

                         Release on Personal Recognizance

                         Bail Posted in the Sum of $

                         Unsecured Appearance Bond

            ____         Appearance Bond with 10% Deposit

                         Appearance Bond with Surety

            ____         Corporate Surety Bail Bond

              X          (Other): Pursuant to the Court’s Order and

                         Judgment of time served.


Issued in Sacramento, California on April 26, 2012.

                                        Dated: April 26, 2012


                                        ____________________________
                                        MORRISON C. ENGLAND, JR.
                                        UNITED STATES DISTRICT JUDGE
